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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CAROLYN GARDNER,                                :
                                                :
                            Plaintiff,          :       CIVIL ACTION
                                                :
                      v.                        :       No. 5:22-CV-01034
                                                :
KUTZTOWN UNIVERSITY, DR.                        :
KENNETH S. HAWKINSON, JESUS PEÑA                :
and JENNIFER WEIDMAN,                           :
                                                :
                            Defendants.         :

                       NOTICE OF SUBSTITUTION OF COUNSEL

       Kindly substitute the appearance of Senior Deputy Attorney General Matthew Skolnik in

replacement of Deputy Attorney General Melissa Medina on behalf of the Defendants Kutztown

University, Dr. Kenneth S. Hawkinson, Jesus Peña, and Jennifer Weidman, in the above

captioned case.

                                                     Respectfully submitted,

                                                     MICHELLE A. HENRY
                                                     Attorney General


Date: June 21, 2023                       By:        /s/ Matthew Skolnik
                                                    Matthew Skolnik
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                                                    Karen M. Romano
                                                    Chief Deputy Attorney General
                                                    Civil Litigation Section
                                                    Counsel for Defendants
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                                CERTIFICATE OF SERVICE

       I, Matthew Skolnik, hereby certify that the foregoing Notice of Substitution of Counsel

has been filed electronically on this date and is available for viewing and downloading from the

Court’s Electronic Case Filing system by all counsel of record.

VIA ECF

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                                              s/ Matthew Skolnik
                                             MATTHEW SKOLNIK
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